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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA MAY 0.8 2024

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Heidi D. Campbell, Clerk

1) PAUL D. GREENE, U.S. DISTRICT COURT

Plaintiff,

Case No. 24- CV-2\'1- MTS

Vv.

1) CORNERSTONE SERVICE
CENTER, INC., d/b/a EXCELL HOME
CARE AND HOSPICE and

2) THE PENNANT GROUP, INC.,

ATTORNEY’S LIEN CLAIMED
JURY TRIAL DEMANDED

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Defendants.

COMPLAINT

COMES NOW Plaintiff, Paul D. Greene, and for this his claims and causes of
action against Defendants, Cornerstone Service Center, Inc., d/b/a, Excell Home Care
and Hospice and The Pennant Group, Inc., states as follows:

L, This court has jurisdiction of the parties and the subject of this cause of
action by virtue of 28 U.S.C. § 1331.

a. At all times material hereto, Plaintiff had medical and psychological
conditions protected by the Americans with Disabilities Act (“ADA”), as amended, 42
U.S.C. §§12101, et seq. and Plaintiff was a veteran, protected by USERRA, 38 U.S.C. §§
4301, et seq.

3. Plaintiff was employed with Defendants in 2021 - 2022 and fully capable of
fulfilling his job duties, with or without accommodation.

4, During his employment with Defendants, Plaintiff was subjected to
discrimination because of his disabilities acquired in the U.S. Armed Services, and
endured a hostile work environment based thereon.

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5. Plaintiff also complained to Defendants that they were discriminating
against other employees based on their race.

6. Ultimately, Defendants terminated Plaintiff's employment based on his
prior service, these disabilities, and his complaints of illegal discrimination.

7. As a result, Plaintiff has lost wages, endured emotional distress and has
been otherwise damaged.

8. Plaintiff timely filed charges with the U.S. Equal Opportunity Employment
Commission and has received his notice ofright to sue. This action timely commences.

WHEREFORE, premises considered, Plaintiff prays for judgment against the

Defendants for actual and punitive damages in a sum of One Million Dollars
($1,000,000.00), attorney’s fees, expert fees, and all costs of this action, injunctive relief,
and any and all other relief to which he may be deemed entitled.

Respectfully submitted,

FRASIER, FRASIER & HICKMAN, LLP

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